              Case 3:17-cr-00019-K  Document
                                IN THE UNITED111  FiledDISTRICT
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                                FOR THE NORTHERN DISTRICT OFT XAS          U.S.DISTRJCTCOlJi(f
                                          DALLAS DIVISION              NORTIJERNDISTRICTOFTEXAS
                                                                                                          FILED
UNITED STATES OF AMERICA                                          §
                                                                  §                                     AUG- 3 2017
vs.                                                               §                    C SENO: 3:17-CR-019-K 05)
                                                                  §                            CLERK, U.S. ~CT COURT
ABRAMDIAZ                                                         §                            By          ([11:...
                                                                                                          Deputy
                                            REPORT AND RECOMMENDATION
                                             CONCERNING PLEA OF GUILTY

        ABRAM DIAZ, by consent, under authority of United States v. Dees, 125 F.3d 261 (5 1h Cir. 1997), has
appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count 2 of the 2 Count
Indictment, filed on January 10, 2017. After cautioning and examining Defendant Abram Diaz under oath
concerning each of the subjects mentioned in Rule 11, I determined that the guilty plea was knowledgeable and
voluntary and that the offense charged is supported by an independent basis in fact containing each of the essential
elements of such offense. I therefore recommend that the plea of guilty be accepted, and that Defendant Abram Diaz,
be adjudged guilty ofMoney Laundering Conspiracy, in violation of 18 USC§ 1956(h), and have sentence imposed
accordingly. After being found guilty of the offense by the district judge.
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ltr'           The defendant is currently in custody and should be ordered to remain in custody.

0              The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(1) unless the Court finds by clear and
               convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the
               community if released.

               0       The Government does not oppose release.
               0       The defendant has been compliant with the current conditions of release.
               0       I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
                       other person or the community if released and should therefore be released under § 3142(b) or (c).

               0       The Government opposes release.
               0       The defendant has not been compliant with the conditions of release.
               0       If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
                       Government.

0              The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (1 )(a) the Court finds there
               is a substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
               recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly
               shown under § 3145( c) why the defendant should not be detained, and (2) the Court finds by clear and
               convincing evidence that the defendant is not likely to flee or pose a dan e                  other person or the
               community if released.

               Signed August 3, 2017.
                                                                   /
                                                                  PAUE . STIC
                                                                  UNITED STATES MAGISTRATE JUDGE

                                                              NOTICE

          Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date
of its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
States District Judge. 28 U.S.C. §636(b)(1)(B).
